                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          WESTERN DIVISON


JACK D. McCULLOUGH,                     )
                                        )
                   Plaintiff,           )
      v.                                )     Case No. 3:17-cv-50116
                                        )
ILLINOIS STATE POLICE AGENT             )     Honorable Frederick J. Kapala
BRION HANLEY, et al.,                   )
                                        )
                   Defendants.          )
                                        )


                                NOTICE OF MOTION

      To:   All Defendants

      Please take notice that on Friday, August 24, 2018 at 9:00 a.m., counsel for
Plaintiff shall appear before the Honorable Judge Frederick J. Kapala in his usual
courtroom, at 327 South Church Street in Rockford, Illinois, and present Plaintiff
Jack McCullough’s Motion for Leave to file his Second Amended Complaint.

                                                            Respectfully Submitted,

                                                           /s/ Aisha N. Davis
                                                         One of Plaintiff’s Attorneys

Arthur Loevy
Jon Loevy
Russell Ainsworth
David B. Owens
Aisha N. Davis
LOEVY & LOEVY
311 N. Aberdeen Street, 3rd Floor
Chicago, IL 60607
(312) 243-5900
(312) 243-5902 (fax)
                          CERTIFICATE OF SERVICE

       I, Aisha N. Davis, an attorney, hereby certify that on August 20, 2018, I
caused the foregoing Notice of Motion to be filed via the Court’s CM/ECF
electronic filing system and thus effected service on all counsel of record.

                                                             /s/ Aisha N. Davis
